     Case: 2:21-cv-00072-DLB-CJS Doc #: 52-2 Filed: 12/11/23 Page: 1 of 2 - Page ID#: 415

                                             COMMONWEALTH VS. CUNDIFF, JEFFERY B II
                                              KENTON DISTRICT COURT
                                              Filed on 06/17/2020 as TRAFFIC with HON. DOUGLAS J. GROTHAUS
                                              Disposition on 08/12/2020 by HON. DOUGLAS J. GROTHAUS
                      20-T-03864
                                              **** NOT AN OFFICIAL COURT RECORD ****


    Case Memo                                                                                                    20-T-03864

      VIOLTIME=19:15 ARRSTDT=6/15/2020 19:15;


    Parties                                                                                                      20-T-03864

      CUNDIFF, JEFFERY B II as DEFENDANT / RESPONDENT
       DOB: 10/07/1986 DLN: C04060040 OPERATOR'S LICENSE - KENTUCKY Race: W Sex: M Hispanic: N Eye Color: BE Hair Color: BN
       Height: 507 Weight: 195

       Bail Bonds
            PERSONAL RECOGNIZANCE for $0.00 set on 06/16/2020 and posted on 06/16/2020
            (SELF);

       Address
            1614 EUCLID AVE
            COVINGTON KY 41011


      MAIROSE III, JOHN as COMPLAINING WITNESS

       Address
            COVINGTON POLICE DEPARTMENT
            1 POLICE MEMORIAL DRIVE
            COVINGTON KY 41011



    Charges                                                                                                      20-T-03864

      *OBS* OP MV UNDER/INFLU OF ALC/DRUGS, ETC. .08 1STOFF - 189A.010(5)(A)
        CHARGE 1 ORIGINAL 0021080
        Charged on 06/15/2020 by citation 0DM732321-1

        GUILTY Disposition on 08/12/2020 by NO TRIAL
        DUI OL SUSP FOR 90 DAYS
        Sentenced on 08/12/2020 fine amount of $250.00 cost amount of $569.00
        JAIL: 7 days ( 7 days Conditional)
        ADE
        CD 2 YEARS - 90 DAY LIC SUSP W/ HARDSHIP AFTER 30


    Documents                                                                                                    20-T-03864

      VEHICLE INFORMATION filed on 06/17/2020

      CRIMINAL DOCKET filed on 08/12/2020

      NOTICE TO ATTEND ALCOHOL DRIVER EDUCATION PROGRAM filed on 08/19/2020

      GUILTY PLEA FORM - DUI filed on 08/19/2020

      CERTIFICATE filed on 10/21/2020
        MENTALL HEALTH AMERICA OF N. KY, DEF ENROLLED IN DUI PROGRAM

      COURT NOTICE filed on 01/04/2021

      NOTICE OF COMPLIANCE filed on 02/05/2021
        MENTAL HEALTH AMERICA OF NORTHERN KENTUCKY-DEF. COMPLETED DUI PROGRAM

      COURT NOTICE filed on 04/06/2021

      CRIMINAL DOCKET filed on 07/16/2021

      CRIMINAL DOCKET filed on 12/10/2021

      CRIMINAL DOCKET filed on 02/11/2022

      FTA ISSUED filed on 02/11/2022


                                                                                                     EXHIBIT 2
12/7/2023                                                     84997-7                                                         1
     Case: 2:21-cv-00072-DLB-CJS Doc #: 52-2 Filed: 12/11/23 Page: 2 of 2 - Page ID#: 416

      FTA RECALLED filed on 03/31/2022

      NOTICE OF JAIL CREDIT (NON-PAYMENT) filed on 04/07/2022
         8 DAYS = 800


    Events                                                                                                      20-T-03864

      SHOW CAUSE DEFERRED/INSTALLMENT PAYMENT scheduled for 02/11/2022 09:30 AM in room 1A with HON. DOUGLAS J.
      GROTHAUS

      SHOW CAUSE DEFERRED/INSTALLMENT PAYMENT scheduled for 12/10/2021 09:30 AM in room 1A with HON. DOUGLAS J.
      GROTHAUS
         12/10/2021 9:30:00 AM CONTINUED TO 2/11/2022 9:30:00 AM COURTROOM 1A [1A] HON. DOUGLAS J. GROTHAUS

      SHOW CAUSE DEFERRED/INSTALLMENT PAYMENT scheduled for 07/16/2021 09:30 AM in room 1A with HON. DOUGLAS J.
      GROTHAUS
         7/16/2021 9:30:00 AM TRANSFERRED TO 12/10/2021 9:30:00 AM COURTROOM 1A [1A] HON. DOUGLAS J. GROTHAUS

      ARRAIGNMENT scheduled for 08/12/2020 09:30 AM in room 1A with HON. DOUGLAS J. GROTHAUS
         8/12/2020 9:30:00 AM TRANSFERRED TO 1/27/2021 9:30:00 AM COURTROOM 1A [1A] HON. DOUGLAS J. GROTHAUS


    Images                                                                                                      20-T-03864

       CITATION filed on 06/15/2020    Page(s): 1

       CRIMINAL DOCKET filed on 08/12/2020          Page(s): 1

       GUILTY PLEA FORM - DUI filed on 08/19/2020          Page(s): 2

       NOTICE TO ATTEND ALCOHOL DRIVER EDUCATION PROGRAM filed on 08/19/2020              Page(s): 1

       RECEIPT filed on 09/22/2020    Page(s): 0

       RECEIPT filed on 01/27/2021    Page(s): 0

       CRIMINAL DOCKET filed on 07/16/2021          Page(s): 1

       CRIMINAL DOCKET filed on 07/16/2021          Page(s): 1

       CRIMINAL DOCKET filed on 12/10/2021          Page(s): 1

       RECEIPT filed on 12/10/2021    Page(s): 0

       CRIMINAL DOCKET filed on 02/11/2022          Page(s): 1

       CITATION filed on 03/31/2022    Page(s): 1

       NOTICE OF JAIL CREDIT (NON-PAYMENT) filed on 04/07/2022              Page(s): 1


                                                   **** End of Case Number : 20-T-03864 ****




12/7/2023                                                               84997-7                                              2
